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                                             Summary of Claims by Estate Pg 1 of 2

85 Flatbush - Claims


                                        RHO Hotel LLC                              20-23281
                                        Entity                                     Amount            Notes
Secured Claims                          TH Holdco LLC                                 $85,158,815.99 Scheduled $70,000,000; Claim No. 3 $85,158,815.99
                                                                                                     Does not include post-petition accruals
                                        Total                                        $85,158,815.99

Chapter 11 Post Petition Admin Claims   NY State Tax Dept                                $88,004.45   Claim No. 7
and Priority Claims                     NY State Tax Dept                               $641,680.18   Claim No. 1
                                        Professional Fees                               $218,030.50   Per Nov. 2021 MOR. There may be add'l professional fees asserted.
                                        NYS Dept of Labor                                    $0.00    Claim No. 2, filed under sec. 507(a) "in the event future liabilities become due"

                                        Total                                           $947,715.13

Unsecured Claims                        BSPRT CRE Finance                               $204,328.00   BSPRT and Benefit St. (Claim Nos. 5 and 6) appear to be duplicate insider claims
                                        Benefit Street Partners Realty Operating        $204,328.00   Claim No. 6
                                        Signature Bank                                  $337,797.00
                                        Simon's Industrial Supply                       $32,810.25    Scheduled $33,821.48; Claim No. 4 $32,810.25
                                        NY State Tax Dept                               $93,746.45    Claim No. 1
                                        4 Sylvan Way LLC                                $83,333.00
                                        AC Elite Steel Inc.                                $435.50
                                        ADP, LLC                                         $3,219.67
                                        Aflac Worldwide Headquart                        $1,069.56
                                        Air Aroma USA Dist LLC                           $6,529.86
                                        Anya's Licorice Inc.                               $694.69
                                        Backstage AS                                     $4,000.00
                                        BP Environmental Services                       $11,000.00
                                        C&A Marketing Inc.                              $33,333.00    *Creditor also scheduled in Mezz case at higher amt. of $333,000
                                        Cashier Depot Corp.                                $133.89
                                        Chaim Hager                                     $83,333.00
                                        Champion Combustion                                $666.86
                                        Chatham Hedging Adviors                            $195.00
                                        Cheskiel Berkowitz                              $83,333.00
                                        Comfort Bedding                                    $729.46
                                        Con Edison                                     $144,699.91
                                        Croker Fire Drill Corpora                          $148.86
                                        CSC                                              $6,915.95
                                        Duetto Research Inc.                            $31,076.94
                                        Dura-Lift Inc.                                  $29,259.12
                                        EEMD INC.                                        $5,040.00
                                        Enercon Technical Service                       $14,139.11
                                        FedEx                                              $183.19
                                        First Insurance Funding                          $5,811.92
                                        George Kenedy LLC                                $5,000.00
                                        Greater Shield                                 $369,452.62
                                        Green & White Boutique                          $16,344.78
                                        GuestTek Interactive                            $11,468.58
                                        Harbor Linen                                     $4,054.08
                                        Hardvard Stars Inc.                              $2,024.75
                                        Herman Rubin                                    $33,333.00
                                        Hotels By Day, LLC                                 $146.57
                                        House of Kooser                                 $18,142.41
                                        ID Cleaners & Carpeting                          $4,355.00
                                        IRS                                                  $0.00
                                        Jacob Rubin                                     $83,333.00
                                        John Mini Distinctive                            $2,995.44
                                        M3 ACCOUNTTING + ANALYTIC                        $1,011.15
                                        M6iT Consulting                                  $9,211.68
                                        Manhattan Beer Distributo                        $7,183.80
                                        MR Linen Services LLC                            $1,344.75
                                        National Grid                                   $12,607.31
                                        NY STATE DEPT. OF FINANCE                            $0.00    For notice purposes
                                        NYC DEPT. OF FINANCE                           $239,724.12
                                        NYS Sales Tax Processing                       $140,807.02
                                        Oracle America, Inc.                            $20,824.84
                                        Personnel Concepts                                  $88.90
                                        Power Pro NY                                       $517.16
                                        Premium Pest Control                             $3,135.60
                                        Protel Voice Data                                  $811.11
                                        Purchase Power                                   $1,778.34
                                        Rightway Restoration LLC                        $34,297.80
                                        Rise Elevator Inspections                        $1,790.00
                                        SAVECOM                                          $6,646.86
                                        T-Y Group, LLC                                   $5,389.32
                                        The New York Times                                 $288.00
                                        The Regency Group                                $3,881.41
                                        TimePayment Corp                                   $327.98
                                        Toys For You Inc.                               $66,666.00




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                                        Traore Cleaning LLC                              $11,812.95
                                        Travel Media Group                                $3,625.00
                                        TravelClick Inc.                                 $21,050.46
                                        Wolf Gordon                                       $2,579.15

                                        Total                                         $2,570,342.13




                                        RHO Residential                            20-23282
                                        Entity                                     Amount            Notes
Secured Claims                          TH Holdco LLC                                 $85,158,815.99 Scheduled $70,000,000; Claim No. 1 $85,158,815.99
                                                                                                     Does not include post-petition accruals.
                                        Total                                        $85,158,815.99

Chapter 11 Post Petition Admin Claims   Professional Fees                               $218,030.50 Per Nov. 2021 MOR. There may be add'l professional fees asserted.

                                        Total                                          $218,030.50

Unsecured Claims                        BSPRT CRE Finance LLC                           $204,328.00   BSPRT and Benefit St. (Claim Nos. 2 and 3) appear to be duplicate insider claims
                                        Benefit Street Partners Realty Operating        $204,328.00   Claim No. 3
                                        4 Sylvan Way LLC                                 $83,333.00
                                        Akiva Hersh Klein                               $333,333.00
                                        Chaim Hager                                      $83,333.00
                                        Cheskiel Berkowitz                               $83,333.00
                                        Con Edison                                            $0.00   Unknown/disputed
                                        Herman Rubin                                     $33,333.00
                                        IRS                                                   $0.00   For notice purposes
                                        Jacob Rubin                                      $83,333.00
                                        National Grid                                         $0.00   Unknown/disputed
                                        NY Dept of Finance                                    $0.00   For notice purposes
                                        NY Dept of Finance                                    $0.00   For notice purposes
                                        Toys for You Inc.                                $66,666.00

                                        Total                                         $1,175,320.00




                                        RHO Mezz                                   20-23280
                                        Entity                                     Amount            Notes
Secured Claims                          85 Flatbush Mezz LLC                           $7,787,500.00 Scheduled $6,000,000; Claim No. 5 $7,787,500
                                        New York City Dept of Finance                       $111.90 Claim No. 11

                                        Total                                         $7,787,611.90

Chapter 11 Post Petition Admin Claims   New York City Dept of Finance                 $1,119,193.86 Claim No. 14
and Priority Claims                     Professional Fees                               $218,030.50 Per Nov. 2021 MOR. There may add'l professional fees asserted.

                                        Total                                         $1,337,224.36

Unsecured Claims                        National Grid                                    $38,588.94   Claim No. 2
                                        John Mini Distinctive Landscapes                  $4,118.73   Claim No. 4 likely duplicate of Claim No. 3
                                        Corporation Service Company                       $1,145.59   Claim No. 6
                                        Mariel A. Colon Miro                                  $0.00   Claim No. 7
                                        EEMD Inc.                                         $9,821.95   Claim No. 8
                                        Office of Admin Trials                           $30,600.00   Claim No. 12
                                        Manhattan Beer Dist.                              $6,686.65   Claim No. 13
                                        Con Edison                                      $265,333.77   Scheduled $144,699.91; Claim No. 1 $265,333.77
                                        Green & White Boutique                           $10,367.69   Claim No. 9
                                        Oracle America                                   $33,570.56   Claim No. 10
                                        4 Sylvan Way LLC                                 $83,333.00
                                        C&A Marketing Inc.                              $333,000.00   *Also scheduled in Hotel case at lower amount of $33,333.00.
                                        Chaim Hager                                      $83,333.00
                                        Cheskiel Berkowitz                               $83,333.00
                                        Herman Rubin                                     $33,333.00
                                        IRS                                                   $0.00   For notice purposes
                                        Jacob Rubin                                      $83,333.00
                                        NYC Dept of Finance                                   $0.00   For notice purposes
                                        Toys For You Inc                                 $66,666.00

                                        Total                                         $1,166,564.88




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